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        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        *
                                                *
       VS.                                      *     CASE NO. 25-CR-024
                                                *
JEAN ROBERT CASIMIR                             *
                                            *********

                                  NOTICE OF APPEARANCE

       TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

       Alfred Guillaume, Esq. hereby moves this Honorable Court to enter his appearance on behalf of

the Defendant in the above captioned case pursuant to the Criminal Justice Act.



                                                                  Respectfully submitted,



                                                          Alfred Guillaume III, Esq.
                                                          Law Offices of Alfred Guillaume III, LLC
                                                          1350 Connecticut Ave. NW, Suite 308
                                                          Washington, D.C. 20036

                                   CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 7th day of FEBRUARY 2025 a copy of this motion was sent
electronically via CM/ECF to all parties of record.


                                            Alfred Guillaume III, Esq.
